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ATTORNEYS FOR PLAINTIFF
UNITED STATES OF At\tERICA

             IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF MONTANA
                     GREAT FALLS DIVISION

 UNITED STATES OF At'\1ERICA,            CR 18- '3.;) -GF- emm

            Plaintiff,                   INDICTMENT

      vs.                                AGGRAVATED SEXUAL ABUSE
                                         (Count I)
                                         Title 18 U.S.C. §§ 1153(a) and 2241(c)
 GENEVA MARIE NADEAU,
                                         (Penalty: Mandatory minimum 30 years to
                                         life imprisonment, $250,000 fine, and five
            Defendant.                   years to life supervised release)

                                         SEXUAL EXPLOITATION OF A CHILD
                                         (Counts II-III)
                                         Title 18 U.S.C. §§ 2251(a) and 2
                                         (Penalty: Mandatory minimum 15 to 30
                                         years imprisonment, $250,000 rme, five
                                         years to life supervised release, and $5,000
                                         special assessment)




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                                             TRANSPORTATION OF CHILD
                                             PORNOGRAPHY
                                             (Count IV)
                                             Title 18 U.S.c. §§ 2252(a)(1) and (b)
                                             (Penalty: Mandatury minimum five to 20
                                             years imprisonment, $250,000 fine, five
                                             years to life supervised release, and $5,000
                                             special assessment)

                                             POSSESSION O'F CHILD
                                             PORNOGRAPHY
                                             (Count V)
                                             Title 18 U.S.c. § 2252A(a)(5)(A) and (B)
                                             (penalty: 20 years imprisonment, 250,000
                                             fine, five years to life supervised release,
                                             and S5,OOO special assessment)

                                             FORFEITURE
                                             18 U.S.c. § 2253(a)



THE GRAND JURY CHARGES:

                                     COUNT I

      That on or about October 19,2015, at Hays and within Blaine County, in the

State and District of Montana, and within the exterior boundaries of the Fort

Belknap Indian Reservation, being Indian Country, the defendant, GENEVA

MARIE NADEAU, an Indian person, knowingly engaged in a sexual act with

"Jane Doe," and at the time of the sexual act, "Jane Doe" had not yet reached 12

years of age, in violation ofl8 U.S.c. §§ I 153(a) and 2241(c).




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                                     COUNT II

      That on or about September 12, 2015, at Hays and within Blaine County, in

the State and District of Montana, and elsewhere, the defendant, GENEVA

MARIE NADEAU, did employ, use, persuade, induce, entice, and coerce, and

attempt to employ, use, persuade, induce, entice, and coerce, any minor, "Jane

Doe," to engage in sexually explicit conduct for the purpose ofproducing any

visual depiction of such conduct, using materials that have been mailed, shipped,

and transported in and affecting interstate and foreign commerce by any means,

including by computer, and such visual depiction has actually been transported

using any means and facility of interstate and foreign commerce and in and

affecting interstate and foreign commerce, and did aid and abet the same, in

violation of 18 U.S.C. §§ 2251 (a) and 2.

                                    COUNTm

      That on or about October 19, 2015, at Hays and within Blaine County, in the

State and District of Montana, and elsewhere, the defendant, GENEVA MARIE

NADEAU, did employ, use, persuade, induce, entice, and coerce, and attempt to

employ, use, persuade, induce, entice, and coerce, any minor, "Jane Doe," to

engage in sexually explicit conduct for the purpose ofproducing any visual

depiction of such conduct, using materials that have been mailed, shipped, and

transported in and affecting interstate and foreign commerce by any means,



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including by computer, and such visual depiction has actually been transported

using any means and facility of interstate and foreign commerce and in and

affecting interstate and foreign commerce, and did aid and abet the same, in

violation of 18 U.S.c. §§ 2251(a) and 2.

                                    COUNT IV

      That between on or about March 5, 2018, and March 9, 2018, at Hayes and

within Blaine County, in the State and District of Montana, and elsewhere, the

defendant, GENEVA MARIE NADEAU, knowingly transported any visual

depiction using any means and facility of interstate and foreign commerce, and in

and affecting interstate and foreign commerce, by any means, including by

computer, namely a file on her Samsung model SM-T31 0 Galaxy Tablet         SN

RF2DB2EA3AD and Samsung 16 GB micro SD card (installed), to Google

Photos, and the production of such visual depiction involved the use of a minor

engaging in sexually explicit conduct and the visual depiction is of such conduct,

in violation of 18 U.S.c. §§ 2252(a)(I) and (b).

                                    COUNT V

      That from on or about May 2015, through in or about April of2018, at Hays

and within Blaine County, in the State and District of Montana, and elsewhere, the

defendant, GENEVA MARIE NADEAU, within the exterior boundaries ofthe

Fort Belknap Indian Reservation, being Indian Country, knowingly possessed



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material containing an image of child pornography, and which was produced using

materials that have been shipped and transported in and affecting interstate and

foreign commerce by any means, including by computer, namely images on the

SanDisk 4 GB micro SD card, Samsung 16 GB micro SD card, SanDisk 32 GB

micro SD card, LG cellular telephone IMEI - SN 358402087062937. in violation

of 18 U.S.c. § 2252A(a)(5)(A) and (B).

      The images of child pornography involved a prepubescent minor and a

minor who had not attained the age of 12 years.

                          FORFEITURE ALLEGATION

      As a result of the commission of the crimes described above, and upon

conviction of any of those crimes, the defendant, GENEVA MARIE NADEAU,

pursuant to 18 U.S.C. § 2253(a), shall forfeit to the United States any property, real

and personal, used and intended to be used to commit and to promote the

commission of such offenses and any property traceable to such property,

including:

      • Samsung model SM -T31 0 Galaxy Tablet - SN RF2DB2EA3AD;

      •    SanDisk 4 GB micro SD card;

      • Samsung 16 GB micro SD card (installed);

      •    Samsung 16 GB micro SD card;

      • SanDisk 32 GB micro SD card; and,


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        • LG cellular telephone IMEl ~ SN 358402087062937.

        A TRUE BILL.
                                    Foreperson signature redacted. Original document filed
                                    under seal.




~ KU

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  JOS PH E.  TH~RD
  Crirnmal Chief Assistant U.S. Attorney




                                                     Crim. Summons
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